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                              STATEMENT OF FACTS


          1.   The National Center for Missing and Exploited Children (NCMEC) is a non-

profit 501(c)(3) organization that serves as a national clearinghouse and resource center for

families, victims, private organizations, law enforcement, and the public on missing and sexually

exploited children. NCMEC operates a Cyber Tipline and Child Victim Identification program.

Through the Cyber Tipline, Internet Service Providers (ISP), Electronic Service Providers (ESP),

and individual persons may notify NCMEC of online child sexual abuse images. NCMEC makes

information submitted to the Cyber Tipline and Child Victim Identification Program available to

law enforcement agencies.

          2.   On November 21, 2024, a representative of NCMEC received three separate

reports regarding possession of child sex abuse material (CSAM) on an online application from

an employee of Google. Google provided the following account information for all three reports,

Name: Charles Hilton, verified phone number of, 202-391-3155, a date of birth of May 13, 1985,

and two email addresses, hiltoncharles2834@gmail.com, and hiltoncharles4480@gmail.com.


The first cyber tip report ( report# 202611544) contained 1108 files. The Electronic Service

provider (ESP) viewed 593 of these files. The majority of these files contain Child Sex Abuse

Material. The following 5 videos are part of the files reported and viewed by the ESP:

Video 1

 Filename:                                        18d0fe24f004292c3ecfbb32c83679c6-VID-
                                                  20141205-WA0452.mp4
 Hash:                                            659d0d709174d9f35f5ca323de76effe
 Viewed by ESP?                                   Yes
 Length                                           00:04:26
 Description                                      The video shows a light-skinned male
                                                  wearing a blue shirt inserting his erect penis
                                                  into a prepubescent Asian female’s vagina for
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                                       several minutes. The perpetrator is naked
                                       from the waist down. The perpetrator is
                                       filming the abuse with a fixed camera in the
                                       room and another camera on his person. After
                                       he inserts his penis into her vagina, the
                                       perpetrator switches the camera angle to his
                                       body-worn camera. The victim appears to be
                                       asleep or unconscious. She is naked, except
                                       for white cowboy boots and white laced
                                       leggings.

Video 2
 Filename:                             e34170dd4561cd8697194ce033f8a553-
                                       1_5082567566832959809.mp4
 Hash:                                 e78e9a6db955bbb1bd672f2e7811fe3f
 Viewed by ESP?                        Yes
 Length                                00:02:11
 Description                           The video shows two prepubescent females
                                       clothed and dancing in front of a camera held
                                       by the perpetrator.

                                       The first prepubescent female is wearing a
                                       blue shirt, a light-colored top, and light-
                                       colored underwear. She turns away from the
                                       camera, lowers her underwear, and shows the
                                       perpetrator her naked butt while dancing.

                                       The second prepubescent is wearing a pink
                                       and white skirt, a light-colored shirt, and
                                       light-colored underwear. She lifts her shirt to
                                       show her breasts to the perpetrator while
                                       continuing to dance.

                                       The video cuts to the second prepubescent
                                       female sitting on a bed with her underwear
                                       down and her vagina exposed. The camera is
                                       moved closer and further away from vagina,
                                       and the perpetrator’s penis can be seen.

                                       The video cuts again, and the second
                                       prepubescent female is seen on the bed on her
                                       hands and knees with her butt exposed. The
                                       perpetrator places his penis against her butt,
                                       and the video ends.
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                                       The song “Run (Extended) by Milk Inc. is
                                       playing throughout the video, but it appears to
                                       be dubbed audio as the original video audio
                                       cannot be heard.

Video 3

 Filename:                             599cf139328c1b47b1d0b9b2943490bf-2017-
                                       07-04 12.30.16(1).mp4
 Hash:                                 07590df7fe1021dde2908f8c2bb8d4c4
 Viewed by ESP?                        Yes
 Length                                00:00:41
 Description                           The video shows a prepubescent female with
                                       black braided hair and a pink top
                                       manipulating what appears to be an adult
                                       male's exposed penis with her hands. The
                                       prepubescent female then places her mouth on
                                       the penis.

                                       The perpetrator is a black male with a light-
                                       colored top and dark-colored bottoms. There
                                       is audio; however, no words are exchanged.

Video 4

 Filename:                             4cafd1f99377fedfe79a60f4d021bed6-
                                       1_5131906965718434316.mp4
 Hash:                                 2c404717c39cbf40bbf4a9edfdaedae8
 Viewed by ESP?                        Yes
 Length                                00:00:06
 Description                           The video shows a prepubescent light-skinned
                                       female on her back wearing a pink top. She is
                                       naked from the waist down. A light skin adult
                                       male, who appears to be completely naked, is
                                       penetrating her anus with his erect penis.

Video 5

 Filename:                             321ef70b84b61d1251359b2b2936c0a8-
                                       4_6048745680116123645.mp4
 Hash:                                 0748a1ece18613c49bf78f331b6ae2b0
 Viewed by ESP?                        Yes
 Length                                00:02:50
 Description                           The video shows a black prepubescent female
                                       naked from the waist down, lying on her back
                                       on a bed. She appears asleep or unconscious
                                       and has black braided hair, a black top, and
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                                                   light-colored underwear around one of her
                                                   legs.

                                                   The hands of what appears to be an adult
                                                   black male begin to manipulate, spread, and
                                                   penetrate her vagina digitally. The adult male
                                                   appears to use his saliva to lubricate the area
                                                   and wipes it off with a blanket the female is
                                                   using when he is done.


       3.      The second Cyber Tip (Tip/Report# 202662841) contained 12 files from the same

ESP as described above (Google) containing the same user information as described above. The

majority of the files depict a black male filming children as they are asleep. The following is a

sample of those files.


       15ea8cea48543c86fbf23b4c8f8fd98e.mp4- This video file depicts a black male filming a

       young black female teen as she is asleep. The male is seen near the child’s knee. A light-

       colored hardwood floor is visible in the video.

       45b0743b12a89d2d836830d75e00bb45.jpg- This is image file depicts a black male

       sitting inside a vehicle.

       c12c11c1cdc3c51c6eedc3a873c38c3e.mp4- This video file depicts what appears to be

       the same girl described in the first file lying in a bed wearing shorts. A person is filming

       her buttocks area as she is asleep.

       The third cyber tip (tip# 202662883) provided by Google contained 20 files all viewed by

       the ESP. The user information is identical to the first two cyber tips. The majority of the

       videos depict a black male filming children as they are asleep. The following is a sample

       of the video files:
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        1ee808f8a332cf4aacc4b7ed63ea8f2e.mp4- This video file depicts a black male pulling

        down the pajama pants of what appears to be a child as she is asleep. The male is

        exposing her buttocks with her underwear on. The male’s hand is visible in the video.

        2dfbfac3a253b85f842abe65cf057d3b.mp4- This video file depicts what appears to be

        child wearing a red shirt and green tights lying on her stomach. A black male is seen

        squeezing the child’s buttocks through her tights and ribbing his fingers up and down the

        girl’s buttock’s crack.

        5d930a85613bb95ed29be2b2d30fe1dd.mp4- This video file depicts a hidden camera

        capturing a child asleep in her bedroom. A black male is seen entering the room with a

        cell phone in his hand, he approaches the child and places the phone near the child’s

        buttocks.

        d7d37ff47e7973f311f6e7824887adb4.mp4- This video file depicts a black male pulling

        down the pajama pants and underwear of what appears to be a young teen girl. The male

        is spreading the girls bare vagina and anus as she is asleep.

        4.       Metadata provided by the reporting ESP for the file

"5162ae9ec05ae54f975c7a2c344fe252-IMG_3062.MOV", which was one of the video files included in

the Cyber Tips, appears to include the following latitude and longitude coordinates: "38.9172, -

77.00139999999999" Possible Google Maps result for "38.9172, -77.00139999999999": 350 U St NE,

Washington, DC 20002. This file depicts a black male filming a child as she is asleep.

        5.      On May 27, 2024, a 13-year-old resident of 350 U Street NE DC Apartment 304 reported

a family disturbance at the residence to the Metropolitan Police. The affiant reviewed the Body Worn

Police camera of the officers and observed what appeared to be a young teen similar to the one in the

recordings described above at the residence. The flooring observed on the body worn camera appears to

be the same flooring that is seen in some of the videos described above.
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          6.     The “selfie” image of the black male sitting in a vehicle, described above as one of the

images contained in the Cyber Tips, is visually similar to a photo of Charles Hilton from a previous

arrest.

          7.     A subpoena for information associated with an IP address used to access the Google

account that was the subject of the Cyber Tips on October 25, 2024, indicated that the phone number

associated with that IP address was 202-666-4960. On November 26, 2024, an emergency data request

was sent to T-Mobile for 202-666-4960. T-Mobile provided subscriber information for this account,

which indicated that the subscriber is Charles Gordon HILTON. An emergency order for prospective cell

site data associated with that number was issued and as of November 26, 2024, the location data indicated

that phone number 202-666-4960 was in the vicinity of 350 U Street, NE DC.


                                             CONCLUSION


          Based on the foregoing, there is probable cause to believe that CHARLES HILTON, the

defendant, committed the offenses of Possession of Child Pornography in violation of 18 U.S.C.

2252(a)(4).

                                                                  ______________________________
                                                                  Timothy Palchak
                                                                  Senior Police Officer
                                                                  Metropolitan Police Department


Respectfully submitted and attested to in accordance with the requirements of Federal Rule of
Criminal Procedure 4.1 by telephone on November 26, 2024.




__________________________________
The Honorable Zia M. Faruqui
United States Magistrate Judge
